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                       EXHIBIT 3
 Case 1:17-cv-00365-LY-AWA Document 201-4 Filed 10/01/18 Page 2 of 6
                @=SF@>AKG=JFKΦΦEFCEIV?LKBF@AKQF=IΦΦЃЃ
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       81,7('67$7(6',675,&7&2857
       :(67(51',675,&72)7(;$6
       $867,1',9,6,21
       [
       80*5(&25',1*6,1&HWDO
       3ODLQWLIIV
       DJDLQVW
       *5$1'(&20081,&$7,2161(7:25.6//&
      'HIHQGDQW
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        1HZ<RUN1HZ<RUN
 
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      DP
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      +LJKO\&RQILGHQWLDO9LGHRWDSHG
      'HSRVLWLRQRID3ODLQWLII81,9(56$/086,&
      *5283E\'$9,'%(1-$0,1SXUVXDQWWR1RWLFH
      EHIRUH&KULVWLQH'H5RVDD1RWDU\3XEOLFRI
      WKH6WDWHRI1HZ<RUN
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 Case 1:17-cv-00365-LY-AWA Document 201-4 Filed 10/01/18 Page 3 of 6
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       4'R\RXNQRZZKRHQJDJHG
       5LJKWVFRUSZLWKUHVSHFWWRWKLVOLWLJDWLRQ"
       $1R
       4<RX
YHKDGQXPHURXVFRQYHUVDWLRQV
       ZLWK&KULV6DEHFIURP5LJKWVFRUSRYHUWKHSDVW
       \HDUVFRUUHFW"
       $<HV
       4$QG0U6DEHFZDVPDUNHWLQJKLV
       VHUYLFHVWR80*"
      05*,/025(2EMHFWLRQIRUP
      IRXQGDWLRQ
      $:DVPDUNHWLQJ5LJKWVFRUSLVWKDW
      WKHTXHVWLRQ"
      4<HV
      05*,/025(6DPHREMHFWLRQ
      $<HV
      4:KHQGR\RXUHFDOOILUVWVSHDNLQJ
      ZLWK0U6DEHFDERXW5LJKWVFRUS"
      $,QWKHSDVW,FRXOGQ
WSLQSRLQW
      LW
      4$QGKRZGLG\RXILUVWFRPHWR
      NQRZ0U6DEHF"
      $,GRQ
WUHFDOO
      4+DYH\RXHYHUPHWKLPLQSHUVRQ"
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 Case 1:17-cv-00365-LY-AWA Document 201-4 Filed 10/01/18 Page 4 of 6
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                                                                       MX`]


       LQWKLVFDVHDQGWKHQWKHQXPEHULQJLVMXVWWR
       HQDEOHXVWRNHHSWUDFNRIWKHP6R
       WKURXJKRXWWKHGHSRVLWLRQ,
OOEHUHIHUULQJ
       WRGLIIHUHQWGRFXPHQWVE\%DWHVQXPEHU
       $7KDQN\RX
       41RZWKHIRUPDWWLQJRIWKLV
       HPDLOLVDOLWWOHZRQN\<RXFDQ
WUHDOO\
       VHHDWWKHWRSZKR\RX
UHVHQGLQJWKHHPDLO
       WR/HWPHJLYH\RXDPRPHQWWRUHYLHZWKLV
      'RHVWKLVDSSHDUWREHDQHPDLO
      FKDLQWKDW\RXSDUWLFLSDWHGLQZLWK&KULV
      6DEHFDQGRWKHUV"
      $<HV
      4'R\RXUHFDOOWKLVHPDLO
      H[FKDQJH"
      $,VHHWKHHPDLOH[FKDQJH
      4,
PMXVWDVNLQJLI\RXKDYHDQ
      LQGHSHQGHQWUHFROOHFWLRQRILWQRZWKDW\RX
YH
      UHYLHZHGWKHHPDLO
      $1R
      4,QWKHHPDLODWWKHERWWRPRI
      WKHFKDLQWKHUH
VDQHPDLOIURP&KULV&DVWOH
      GDWHG1RYHPEHUUHJDUGLQJDPHHWLQJ
      EHWZHHQ\RX&KULV6DEHFDQG5REHUW6WHHOHRI
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 Case 1:17-cv-00365-LY-AWA Document 201-4 Filed 10/01/18 Page 5 of 6
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       )LUVWRIDOOZKRLV&KULV
       &DVWOH"
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VDQDWWRUQH\
       4:DVKHUHSUHVHQWLQJ80*DWWKH
       WLPH"
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WWKLQNVR
       4$QGGLGKHLQWURGXFH\RXWR&KULV
       6DEHFDQG5LJKWVFRUS"
      $,GRQ
WNQRZ
      4<RXGRQ
WUHFDOO"
      $,GRQ
WUHFDOO
      4'R\RXUHFDOODQ\WKLQJDERXW
      &KULV&DVWOHRWKHUZLVHZK\KHZRXOGEH
      VHQGLQJ\RXHPDLOVDERXW5LJKWVFRUS"
      $+H
VDODZ\HU
      4'LG\RXKDYHDQH[LVWLQJ
      UHODWLRQVKLSZLWK0U&DVWOH"
      $,GRQ
WNQRZLI,KDGD
      UHODWLRQVKLSZLWKKLPSULRUWRWKHVHPHHWLQJV
      ,NQRZ&KULV&DVWOHIRUDORQJZKLOH,W
V
      SRVVLEOH,GLG
      46RLW
VSRVVLEOHWKDWKHPDGHWKH
      LQWURGXFWLRQWR5LJKWVFRUS"
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       $,WLV
       4,
GOLNHWRMXPSXSLQWKHFKDLQ
       DOLWWOHELW7KHUH
VDQHPDLO\RXVHQWRQ
       1RYHPEHUWKLVLVRQWKHILUVWSDJH
       DSSHDULQJWRUHVSRQGWR0U6DEHFVD\LQJ
       :KHUHDUH\RXRQWKLV",DVVXPH\RXDUH
       VWLOOZRUNLQJZLWK+XJKHVRQDWHVWRI\RXU
       DELOLW\WRWUDFNPXOWLSOHLQIULQJHPHQWV'R
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      5LJKWVFRUS
VDELOLW\WRWUDFNPXOWLSOH
      LQIULQJHPHQWV"
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WUHFDOO
      4'R\RXUHFDOOGLVFXVVLQJZLWK
      5LJKWVFRUSWKHLUDELOLW\WRWUDFNPXOWLSOH
      LQIULQJHPHQWV"
      $1R
      4$WDQ\SRLQWLQWLPHQRWMXVWDW
      WKLVSRLQWLQWLPH"
      $&RUUHFW
      4'LG\RXHYHUKDYHDQ\
      FRQYHUVDWLRQVZLWK0U6DEHFRUDQ\RQHDW
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